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 8                             UNITED STATES DISTRICT COURT

 9           NORTHERN DISTRICT OF CALIFORNIA - SAN FRANCISCO DIVISION

10 SECURITIES AND EXCHANGE                          Case No. 3:17-CV-00223-RS
   COMMISSION,
11
                Plaintiff,
12
          vs.
13                                                  STANDARDIZED FUND ACCOUNTING
   SAN FRANCISCO REGIONAL CENTER, LLC;              REPORT FOR CONSOLIDATED
14 THOMAS M. HENDERSON; CALIFORNIA                  RECEIVERSHIP ENTITIES FOR
   GOLD MEDAL, L.P.; CALLSOCKET, L.P.;              REPORTING PERIOD: SECOND
15 CALLSOCKET II, L.P.; CALLSOCKET III,             QUARTER 2022 (APRIL 1, 2022 – June 30,
   L.P.; COMPREHENSIVE CARE OF                      2022)
16 OAKLAND, L.P.; NA3PL, L.P.; WEST
   OAKLAND PLAZA, L.P.; CALLSOCKET,
17 LLC; CALLSOCKET II, LLC; CALLSOCKET
   III, LLC; COMPREHENSIVE CARE OF
18 CALIFORNIA, LLC; IMMEDIA, LLC; and
   NORTH AMERICA 3PL, LLC,
19
                Defendants,
20
                -and-
21
   CALLSOCKET HOLDING COMPANY, LLC;
22 CALLSOCKET III HOLDING COMPANY,
   LLC; BERKELEY HEALTHCARE
23 DYNAMICS, LLC; CENTRAL CALIFORNIA
   FARMS, LLC; and JL GATEWAY, LLC,
24
                Relief Defendants.
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                                          1                          Case No. 3:17-CV-00223-RS
     STANDARDIZED FUND ACCOUNTING REPORT FOR CONSOLIDATED RECEIVERSHIP ENTITIES FOR
             REPORTING PERIOD: SECOND QUARTER 2022 (APRIL 1, 2022 - JUNE 30, 2022)
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